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 3
                              UNITED STATES DISTRICT COURT
 4
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
 5
     UNITED STATES OF AMERICA,                 No. CR 24-492-SPG
 6
                Plaintiff,                     ORDER CONTINUING SENTENCING
 7                                             HEARING DATE
                      v.
 8                                             [PROPOSED] SENTENCING DATE:
     MARK CHAVEZ,                              09/17/25 at 10:00 a.m.
 9
                Defendant.
10

11

12
           The Court has read and considered the Stipulation to Continue
13
     Sentencing Hearing for Defendant MARK CHAVEZ (“defendant”).               The
14
     Court hereby finds that the Stipulation, which this Court
15
     incorporates by reference into this Order, demonstrates facts that
16
     support a continuance of the sentencing hearing.
17
     THEREFORE, FOR GOOD CAUSE SHOWN:
18
           The sentencing for defendant, currently set for April 2, 2025,
19
     is continued to September 17, 2025 at 10:30 a.m.
20

21
           IT IS SO ORDERED.
22

23      February 14, 2025
      DATE                                     HONORABLE SHERILYN PEACE GARNETT
24                                             UNITED STATES DISTRICT JUDGE
25

26   Presented by:
27    /s/
      HAOXIAOHAN CAI
28    Assistant United States Attorney
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